

People v McMillan (2018 NY Slip Op 01728)





People v Mcmillan


2018 NY Slip Op 01728


Decided on March 16, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 16, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, CURRAN, AND WINSLOW, JJ.


168 KA 12-01087

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vMARCUS J. MCMILLAN, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






DAVISON LAW OFFICE PLLC, CANANDAIGUA (MARY P. DAVISON OF COUNSEL), FOR DEFENDANT-APPELLANT.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (SCOTT MYLES OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Monroe County Court (James J. Piampiano, J.), rendered March 8, 2012. The judgment convicted defendant, upon his plea of guilty, of manslaughter in the first degree and assault in the first degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Memorandum: In appeal No. 1, defendant appeals from a judgment convicting him, upon his plea of guilty, of manslaughter in the first degree (Penal Law § 125.20 [1]) and assault in the first degree
(§ 120.10 [1]). In appeal No. 2, he appeals from a judgment convicting him, upon his plea of guilty, of criminal possession of a controlled substance in the third degree (§ 220.16 [1]). Contrary to defendant's contention in both appeals, the sentences are not unduly harsh or severe.
Entered: March 16, 2018
Mark W. Bennett
Clerk of the Court








